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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 Jane Doe 1,
               Plaintiff,
 v.                                         CIVIL ACTION NO.
                                            1:19-cv-03840-WMR


 WHG SU Atlanta LP, et al
         Defendants.



                                     ORDER
      It is hereby ORDERED that this case be REFERRED to the next United

States Magistrate Judge on rotation for mediation.

      It is further ORDERED that all Plaintiffs and Defendants must all be present

and participate in the mediation. For the Plaintiffs, each actual individual Plaintiff

must appear. For the Defendants, each Defendant or their corporate representative,

specifically a representative of each Defendant that has full authority to settle their

case, must appear. The normal rules of mediation will apply. If the parties mutually

agree, they may hire their own outside mediation service. Within two days of the

completion of the mediation, the parties shall report the outcome of the mediation to

the Court.

      So ORDERED this 13th day of December, 2022.
